            IN THE COURT OF CRIMINAL APPEALS
                        OF TEXAS
                             NOS. WR-95,686-01 &amp; WR-95,686-02


                        EX PARTE DORIS ANN MARTIN, Applicant


             ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
        CAUSE NOS. 1304900-A &amp; 1304899-A IN THE 177TH DISTRICT COURT
                           FROM HARRIS COUNTY


        Per curiam. YEARY, J., filed a concurring and dissenting opinion in which KELLER,
P.J., and KEEL and SLAUGHTER, JJ., joined.

                                          OPINION

       Applicant pleaded guilty to possession of cocaine and delivery of hydrocodone and was

sentenced to 180 days in county jail. Applicant did not appeal her convictions. Applicant filed these

applications for writs of habeas corpus in the county of conviction, and the district clerk forwarded

them to this Court. See TEX. CODE CRIM. PROC. art. 11.07.

       Applicant raises claims of false evidence and involuntary plea related to the discovery of

prior misconduct by former Houston Police Officer Gerald Goines, who was the primary witness

against Applicant. Based on the record, the trial court has determined that Applicant was denied due

process by the use of false evidence against her and that her guilty pleas were involuntary. Ex parte
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Mathews, 638 S.W.3d 685 (Tex. Crim. App. 2022); Ex parte Coty, 418 S.W.3d 597 (Tex. Crim.

App. 2014). The State and trial court both recommend granting relief. We agree.

       Relief is granted. Ex parte Chabot, 300 S.W.3d 768, 772 (Tex. Crim. App. 2009); Brady v.

United States, 397 U.S. 742 (1970).        The judgments in cause numbers 130490001010 &amp;

130489901010 in the 177th District Court of Harris County are set aside, and Applicant is remanded

to the custody of the Sheriff of Harris County to answer the charges as set out in the informations.

The trial court shall issue any necessary bench warrant within ten days from the date of this Court’s

mandate.

       Copies of this opinion shall be sent to the Texas Department of Criminal Justice–Correctional

Institutions Division and the Board of Pardons and Paroles.



Delivered: AUGUST 21, 2024
Do not publish
